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                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                      )                CASE NO. 1:13CR00031-013
                                               )
       Plaintiff,                              )                JUDGE: JAMES S. GWIN
                                               )
vs.                                            )                ORDER
                                               )
PATRICK CORRIGAN,                              )
                                               )
       Defendant.                              )



       This matter was heard on August 29, 2016 upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of supervised release.

The defendant was present and represented by Attorney Edward R. LaRue.

       The violation report was referred to Magistrate Judge Thomas M. Parker who issued a

Report and Recommendation on August 4, 2016 [Doc. 387]. No objections having been filed the

Court adopted the Magistrate Judge's Report and Recommendation and found that the following

terms of supervision had been violated:

                1) failure to comply with drug testing and treatment;

                2) failure to report to the Probation Office.

       The Court found the violations to be Grade C and that defendant was a Criminal History

Category III.

       The Court, upon consideration of the 3553(a) factors, committed defendant to the Bureau

of Prisons for a term of 4 months with credit for time served in federal custody on the instant
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violations. Upon release from incarceration, defendant’s term of supervision shall terminate.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.

       IT IS SO ORDERED.



Dated: August 30, 2016                              s/ James S. Gwin
                                                    JAMES S. GWIN
                                                    UNITED STATES DISTRICT JUDGE
